Case 8:20-cr-00030-CEH-TGW Document 308 Filed 05/14/21 Page 1 of 6 PageID 1076




                IN THE UNITED STATES DISTRICT COURT
             IN AND FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 UNITED STATES OF AMERICA

 V.                                 CASE NO: 8:20-CR-30-CEH-TGW-5

 JORGE RAMIREZ


             DEFENDANT’S SENTENCING MEMORANDUM

        COMES NOW THE DEFENDANT, JORGE RAMIREZ, (hereinafter

 “Mr. Ramirez”), by and through his Undersigned Counsel and hereby files this

 Sentencing Memorandum.

                         STATEMENT OF FACTS

        On January 22, 2020, a grand jury in the Middle District of Florida

 returned a one-count indictment naming Mr. Ramirez and others as co-

 defendants. Pre-Sentence Report (“PSR”) 5¶1 Mr. Ramirez was charged with

 one count of conspiracy to possess with intent to distribute 50 grams or more

 of methamphetamine, a detectable amount of cocaine, and a detectable amount

 of heroin Id. at ¶2. Mr. Ramirez pled guilty to count one pursuant to a plea

 agreement before The Honorable Thomas Wilson on August 25, 2020. PSR -

 5¶5.

        Mr. Ramirez was a drug dealer in Pasco County associated with a man

 named Donald Shaffer. PSR 8¶23. Shaffer received his methamphetamine
Case 8:20-cr-00030-CEH-TGW Document 308 Filed 05/14/21 Page 2 of 6 PageID 1077




 from Juan Castillo and Adan Maldonado, major narcotics traffickers who

 received their supplies from a Mexican cartel. PSR 6-8. Shaffer was arrested

 and his sentencing is pending. Mr. Ramirez did take over for Mr. Shaffer after

 his arrest, but denies related co-defendant Arias-Castillo’s account of how

 much methamphetamine he sold on behalf of Mr. Shaffer. Mr. Ramirez did

 receive 1.5 kilograms from Castillo and Maldonado on February 4, 2019, and

 did expect to receive more for resale. PSR 9 ¶23.

               SENTENCING GUIDELINES CALCULATION

       Mr. Ramirez is properly scored as a criminal history category III. Mr.

 Ramirez is assigned responsibility for at least 40 kilograms of ice, based upon

 the proffer of Mr. Arias-Castillo. The PSR assigns a base offense level of 38.

 PSR 11 ¶37. With acceptance of responsibility, Mr. Ramirez earns 3 points to

 a total offense level of 35, resulting in a guideline range of 210 to 262 months

 imprisonment. PSR 27 ¶108. Mr. Ramirez faces a mandatory minimum of

 180 months imprisonment as a function of the §851 enhancement due to his

 2011 state cocaine trafficking conviction.

  REQUEST FOR VARIANCE AND REASONABLE SENTENCE OF 180
                 MONTHS IMPRISONMENT

       Mr. Ramirez respectfully requests that this Court sentence him to 180

 months of imprisonment. This Court is aware of the wide discretion given by
Case 8:20-cr-00030-CEH-TGW Document 308 Filed 05/14/21 Page 3 of 6 PageID 1078




 Booker and its progeny, so there is no need to reiterate it here. Under the

 factors laid out by 18 USC § 3553(a), a 180-month sentence is appropriate.

       The Government has not filed a Rule 5k motion in this case, though

 Mr. Ramirez did give a significant post-Miranda statement right after his

 arrest. Mr. Ramirez has attempted to cooperate with prior case agents since

 his release from custody. While Mr. Ramirez’s bond was revoked due to his

 being a suspect for a Hernando County murder, he has not been indicted or

 arrested for this offense and is willing to assist in that investigation. He

 otherwise was well behaved on pretrial release in part due to the supervision

 of his wife, who will have to take care of their two minor aged children during

 his incarceration.

       Under subsection (a)(1), the facts and circumstances of this case merit

 a departure. Mr. Ramirez’s responsible quantity of 40 kilograms comes from

 the proffer of cooperating codefendant Arias-Castillo. The entire 40 kilograms

 is qualified as of ice purity based upon the sample testing of

 methamphetamine found at Castillo and Maldonado’s stash house. There are

 no facts in the plea agreement that discuss the purity of the

 methamphetamine dealt by Mr. Ramirez.

       Courts all over the country have begun to discount the empirical

 support underpinning the 10:1 ratio difference between Methamphetamine

 and Ice. This is largely in part due to the U.S. Sentencing Commission’s lack
Case 8:20-cr-00030-CEH-TGW Document 308 Filed 05/14/21 Page 4 of 6 PageID 1079




 of scientific underpinning to amendments to 2D1.1 that were found to be the

 result of congressional directive. See United States v. Hayes, 948 F. Supp. 2d

 10009 (N.D. Iowa 2013) (downward variance warranted due to policy

 disagreement on methamphetamine guidelines not based on empirical data),

 United States v. Castellanos, 2008 WL 5423858 (D. Neb. Dec. 29, 2008)

 (methamphetamine guidelines were given less deference as they were

 promulgated by congressional directive), United States v. Ibarra-Sandoval,

 265 F. Supp. 3d 1249 (D. New Mexico 2017) (Departure based on policy

 disagreement with methamphetamine guidelines not based on empirical

 data.), United States v. Johnson, 379 F. Supp. 3d 1213 (M.D. Ala. 2019)

 (departure based on lack of empirical support for methamphetamine

 guidelines).

       Furthermore, Mr. Ramirez presents a significant medical concern for

 the Bureau of Prisons. Mr. Ramirez suffered a punctured intestine as a

 consequence of two of his friends fighting, and he required bowel resection

 and a colostomy bag. PSR 23¶84. He has to take medicine for epileptic

 seizures, nausea, high blood pressure, high cholesterol, sleep apnea and

 thyroid issues. Id. at ¶85. He suffered cranial bleeding in 2015 and has

 permanent memory loss as a result. Id. He has also been diagnosed with a

 ventral hernia, hypertensive heart disease, hypothyroidism and esophogeal
Case 8:20-cr-00030-CEH-TGW Document 308 Filed 05/14/21 Page 5 of 6 PageID 1080




 reflux and a hernia. PSR 24 ¶¶86-88. Mr. Ramirez has admitted to drug

 problems and has requested RDAP recommendation to get treatment.

       This Court has given some level of variance to codefendants in this

 case. Edward Rodriguez was given 135 months imprisonment despite being

 responsible for 200 kg of methamphetamine, and he had a criminal history

 category of III. Both Edwar and Christian Rondon received downward

 variances and did receive the benefit of safety valve in receiving 63-month

 sentences, but they were also responsible for 200 kilograms of

 methamphetamine. Mr. Ramirez is not as responsible as these codefendants

 as he is only responsible for 40 kilograms of methamphetamine. He is not

 eligible for safety valve and has no means of being sentenced below the 15-

 year minimum mandatory sentence. As this Court has shown some leniency

 to other codefendants, a sentence of the minimum mandatory 180 months is

 more than sufficient to meet the sentencing requirements of §3553(a), give

 proportionally similar sentences to codefendants, and consider the facts and

 circumstances of Mr. Ramirez and his case.

                                   CONCLUSION

       For the Reasons stated herein, the Defendant requests that this Court

 enter a sentence of 180 months’ imprisonment.
Case 8:20-cr-00030-CEH-TGW Document 308 Filed 05/14/21 Page 6 of 6 PageID 1081




                              Respectfully submitted,



                              /s Christopher DeLaughter
                              CHRISTOPHERDELAUGHTER, ESQUIRE


                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has

 been furnished electronically by E-mail, THE OFFICE OF THE ASSISTANT

 UNITED STATES ATTORNEY, this 14th day of May, 2021.

                              /s Christopher Delaughter
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